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                     UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                    APPEARANCE OF COUNSEL FORM
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                                                      (party name)

      appellant(s)    appellee(s)     petitioner(s)      respondent(s)     amicus curiae       intervenor(s)   movant(s)


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